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                     IN THE UNITED STATES DISTRICT COURT

                            FOR THE DISTRICT OF ALASKA

  UNITED STATES OF AMERICA,             )   No. 3:19-cr-00111-RRB-MMS
                                        )
                          Plaintiff,    )   COUNTS 1, 3, & 5:
                                        )   DISTRIBUTION AND DISPENSING
          vs.                           )   OF A CONTROLLED SUBSTANCE
                                        )   RESULTING IN DEATH
  JESSICA JOYCE SPAYD,                  )     Vio. of U.S.C. §§ 841(a)(1), (b)(1)(C),
                                        )   and 18 U.S.C. § 2
                          Defendant.    )
                                        )   COUNTS 2 & 4:
                                        )   DISTRIBUTION AND DISPENSING
                                        )   OF A CONTROLLED SUBSTANCE
                                        )   RESULTING IN DEATH
                                        )     Vio. of 21 U.S.C. §§ 841(a)(1),
                                        )   (b)(1)(C) and (b)(2), and 18 U.S.C. § 2
                                        )
                                        )   COUNTS 6-9:
                                        )   DISTRIBUTION AND DISPENSING
                                        )   OF A CONTROLLED SUBSTANCE
                                        )     Vio of 21 U.S.C. §§ 841(a)(1),
                                        )   (b)(1)(C), and 18 U.S.C. § 2
                                        )
                                        )



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                                             )   COUNT 10:
                                             )   MAINTAINING DRUG INVOLVED
                                             )   PREMISES
                                             )    Vio of 21 U.S.C. § 856(a)(1) and 18
                                             )   U.S.C. § 2
                                             )
                                             )   CRIMINAL FORFEITURE
                                             )   ALLEGATION:
                                             )    Vio. of 21 U.S.C. § 853 and
                                             )   R. 32.2(a), Fed. R. Crim. P.
                                             )


                 FIRST SUPERSEDING INDICTMENT

       The Grand Jury charges that:

                                      COUNTS 1-5

       On or about the dates listed below, within the District of Alaska, the defendant,

JESSICA JOYCE SPAYD, then a nurse practitioner licensed to practice medicine in the

State of Alaska, did knowingly and intentionally possess with intent to distribute and

dispense, distribute and dispense, and cause the intentional distribution and dispensing of

controlled substances, in violation of 21 U.S.C. § 841 as described below:

       The defendant, JESSICA JOYCE SPAYD, while acting and intending to act

outside the usual course of professional practice and without a legitimate medical

purpose, wrote and dispensed prescriptions for the following Schedule II controlled

substances:

       substances containing a detectable amount of methadone;
       substances containing a detectable amount of fentanyl;
       substances containing a detectable amount of oxycodone;
       substances containing a detectable amount of hydromorphone;

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and, for the following Schedule IV controlled substances:

       substances containing a detectable amount of diazepam; and
       substances containing a detectable amount of carisoprodol.

       The following deaths resulted from JESSICA JOYCE SPAYD’s knowing and

intentional possession with intent to distribute, distribution and dispensing, and causing

the intentional distribution and dispensing of the below listed controlled substances, with

each of the below deaths constituting a separate and distinct count of this Indictment:

                                        COUNT 1

       On or about October 14, 2014, J.L. received prescriptions from the defendant,

JESSICA JOYCE SPAYD, for methadone and oxycodone. On or about October 14,

2014, J.L. filled the controlled substance prescriptions she received from SPAYD at a

pharmacy. On October 15, 2014, J.L. overdosed and died as a result of use of the

methadone and oxycodone that SPAYD prescribed to him/her.

       All of which is in violation of in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

and 18 U.S.C. § 2.

                                        COUNT 2

       On or about September 10, 2015, K.B. received prescriptions from the defendant,

JESSICA JOYCE SPAYD, for hydromorphone and carisoprodol. On or about

September 10, 2015, K.B. filled the controlled substance prescriptions she received from

SPAYD at a pharmacy. On September 11, 2015, K.B. overdosed and died as a result of

use of the hydromorphone and carisoprodol that SPAYD prescribed to him/her.


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       All of which is in violation of in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and

(b)(2), and 18 U.S.C. § 2.

                                        COUNT 3

       On or about December 3, 2015, B.S. received prescriptions from the defendant,

JESSICA JOYCE SPAYD, for methadone and hydromorphone. On or about December

17, 2015, B.S. filled the controlled substance prescriptions she received from SPAYD at

a pharmacy. On December 22, 2015, B.S. overdosed and died as a result of use of the

methadone that SPAYD prescribed to him/her.

       All of which is in violation of in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

and 18 U.S.C. § 2.

                                        COUNT 4

       On or about January 25, 2016, E.K. received prescriptions from the defendant,

JESSICA JOYCE SPAYD, for oxycodone, methadone, diazepam. On or about January

25 and 26, 2016, E.K. filled the controlled substance prescriptions she received from

SPAYD at a pharmacy. On February 7, 2016, E.K. overdosed and died as a result of use

of the oxycodone, methadone, and diazepam that SPAYD prescribed to him/her.

       All of which is in violation of in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C) and

(b)(2), and 18 U.S.C. § 2.

                                        COUNT 5

       On or about February 20, 2019, L.D. received prescriptions from the defendant,

JESSICA JOYCE SPAYD, for fentanyl and oxycodone. On or about February 20, 2019,

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L.D. filled the controlled substance prescriptions she received from SPAYD at a

pharmacy. On March 2, 2019, L.D. overdosed and died as a result of use of the fentanyl

and oxycodone that SPAYD prescribed to him/her.

       All of which is in violation of in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C),

and 18 U.S.C. § 2.

                                       COUNTS 6-9

       On or about the dates listed below, within the District of Alaska, the defendant,

JESSICA JOYCE SPAYD, then a nurse practitioner licensed to practice medicine in the

State of Alaska, did knowingly and intentionally possess with intent to distribute and

dispense, distribute and dispense, and cause the intentional distribution and dispensing of

controlled substances, in violation of 21 U.S.C. § 841 as described below:

       JESSICA JOYCE SPAYD, while acting and intending to act outside the usual

course of professional practice and without a legitimate medical purpose, wrote and

dispensed prescriptions for substances containing a detectable amount of oxycodone, a

Schedule II controlled substance, with each of the below prescriptions constituting a

separate and distinct count of this indictment:

                      On or About Date
                                                              DEA
           Count        Prescription        Prescription                   Person
                                                            Schedule
                          Written
             6        October 31, 2018      oxycodone           II           J.E.

             7           May 9, 2019        oxycodone           II           J.W.

             8          May 15, 2019        oxycodone           II           J.W.


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                      On or About Date
                                                              DEA
           Count        Prescription       Prescription                   Person
                                                            Schedule
                          Written
             9          June 13, 2019       oxycodone          II           J.W.

       All of which is in violation of 21 U.S.C. §§ 841(a)(1), (b)(1)(C), and 18 U.S.C.

§ 2.

                                        COUNT 10

       On a date unknown to the Grand jury, but no later than January 2014, and

continuing through in or about October 2019, within the District of Alaska, the defendant,

JESSICA JOYCE SPAYD, knowingly and intentionally opened, used, and maintained a

place known as Eagle River Pain & Wellness, LLC, located at 16425 Brooks Loop, Eagle

River, Alaska, for the purpose of distributing controlled substances outside the usual

course of professional practice and without a legitimate medical purpose.

       All of which is in violation of 21 U.S.C. § 856(a)(1) and 18 U.S.C. § 2.

                       CRIMINAL FORFEITURE ALLEGATION

       The allegations contained in Counts 1-10 of this Indictment are hereby re-alleged

and incorporated by reference for the purpose of alleging forfeitures pursuant to 21

U.S.C. § 853.

       Pursuant to 21 U.S.C. § 853, upon conviction of an offense in violation of 21

U.S.C. § 841, and/or 21 U.S.C. § 856, the defendant, JESSICA JOYCE SPAYD, shall

forfeit to the United States of America any property constituting, or derived from, any

proceeds obtained, directly or indirectly, as the result of such offenses and any property

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used, or intended to be used, in any manner or part, to commit, or to facilitate the

commission of, the offense, including but not limited to the following:

    Real Property located at: 16425 Brooks Loop, Eagle River, AK, 99577;

    Real Property located at: 5201 East Northern Lights Blvd, Building #4, Unit #2S,

       Anchorage, AK 99508; Tax Parcel: 0063222102418.

       All pursuant to 21 U.S.C. § 853 and Rule 32.2(a), Federal Rules of Criminal

Procedure.

       A TRUE BILL.


                                           s/ Grand Jury Foreperson
                                           GRAND JURY FOREPERSON



s/ Kyle Reardon for
RYAN D. TANSEY
Assistant U.S. Attorney
United States of America




s/ Bryan Schroder
BRYAN SCHRODER
United States Attorney
United States of America


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